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                    IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


 PNC Bank, National Association, successor in
 interest by merger to National City Bank, successor
 in interest by merger to MidAmerica Bank, FSB
                                       Plaintiff,
                              vs.                           No. 13 cv 07271
 Randall Road Joint Venture, an Illinois general
 partnership; Chicago Title Land Trust Company,             Property Address:
 successor trustee to Amcore Investment Group as            124-136 S. Randall Road
 Trustee Under Trust Agreement Dated December 15,           Algonquin, Illinois 60102
 1993 and Known as Trust Number 3504; Jeffrey R.
 Dunham; Robert R. Dunham; Power Pizza Company              Assigned Judge: Robert M. Dow, Jr.
 d/b/a Jake’s Pizza, an Illinois domestic corporation;      Magistrate Judge: Mary M. Rowland
 Phoenix Leasing Incorporated, a foreign corporation;

                                        Defendants.


                                              ORDER

       This matter coming before the court on status and presentation of the receiver’s first report,
due notice being given, the court having jurisdiction of the parties and subject matter and being fully
advised in the premises, the receiver and counsel for PNC being present, IT IS HEREBY
ORDERED:

       1) The receiver’s first report, and fees and expenses contained therein, are hereby approved;

       2) The receiver’s second report shall cover the period January 14, 2014 to March 31, 2014,
       and shall be filed by April 15, 2014;

       3) The receiver is granted leave to retain counsel to conduct evictions for the subject
       property, if necessary;

       4) Plaintiff is granted leave to file a second amended complaint to add Clean and Press, Inc.
       as a party defendant by January 30, 2014, summons to issue; and




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  5) This matter is set for status and presentation of the receiver’s second report on April 29,
  2014 at 9:00 AM.



                                         ENTERED:

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                                                          _ __
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                                         Judge

                                         Date: January 29, 2014




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